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 1                                  UNITED STATES DISTRICT COURT
 2                                           DISTRICT OF NEVADA
 3
     UNITED STATES OF AMERICA,
 4
                             Plaintiff,                              Case No.: 2:24-cr-00088-GMN-NJK
 5
            vs.
 6                                                              AMENDED1 ORDER ON MOTION FOR
     AFZAL KHAN,                                                       CLARIFICATION
 7
                             Defendant.
 8

 9           Pending before the Court is the Motion for Clarification, (ECF No. 19), filed by
10   Defendant Afzal Khan. The Court grants the Motion for Clarification, but takes no position as
11   to whether Defendant can run for Congress. The Court has now approved the Request for
12   Modification to Conditions of Supervision, (ECF No. 20), which provides clarification about
13   what Defendant is required to do to comply with his conditions of supervision.
14           Accordingly,
15           IT IS HEREBY ORDERED that Defendant’s Motion for Clarification, (ECF No. 19),
16   is GRANTED.
17           IT IS FURTHER ORDERED that the prior Order on Motion for Clarification, (ECF
18   No. 22), is STRIKEN.
19                       29 day of May, 2025.
             DATED this _____
20

21
                                                         ___________________________________
22                                                       Gloria M. Navarro, District Judge
                                                         United States District Court
23

24

25
     1
       This Order has been revised to include the correct docket number for the Motion for Clarification, which was
     listed incorrectly in the previous Order.

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